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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

CINSAY, INC.,                                   §
                                                §
         Plaintiff,                             §
                                                §       CIVIL ACTION NO. 3:13-cv-3628-K
vs.                                             §
                                                §            JURY TRIAL DEMANDED
JOYUS, INC.,                                    §
                                                §
         Defendant.                             §


                      JOINT MOTION TO DISMISS WITHOUT PREJUDICE

         Cinsay, Inc. and Joyus, Inc., pursuant to FED. R. CIV. P. 41(a)(2) and (c), move for an

order dismissing all claims and counterclaims by and between them in this action without

prejudice, subject to the terms of the parties’ Settlement Agreement, with each party to bear its

own costs, expenses and attorneys’ fees.




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Dated: April 3, 2015                                 Respectfully submitted,


By: /s/ Olga A. Bograd                               /s/ James C. Yoon
    Jamil N. Alibhai                                 Jeffrey F. Wood
    Texas State Bar No. 00793248                     Texas State Bar No. 24025725
    jalibhai@munckwilson.com                         jeff.wood@jcmfirm.com
    Jason Blackstone                                 JONES CARR MCGOLDRICK, LLP
    Texas State Bar No. 24036227                     5910 North Central Expwy, Suite 1700
    jblackstone@munckwilson.com                      Dallas, Texas 75206
    Jacob L. LaCombe                                 Telephone: 214.828.9200
    Texas State Bar No. 24070098                     Telecopier: 214.828.9229
    jlacombe@munckwilson.com
    Olga A. Bograd                                   James C. Yoon (pro hac vice)
    Texas State Bar No. 24075613                     jyoon@wsgr.com
    obograd@munckwilson.com                          WILSON SONSINI GOODRICH &
    MUNCK WILSON MANDALA, LLP                           ROSATI PC
    12770 Coit Road, Suite 600                       650 Page Mill Road
    Dallas, Texas 75251                              Palo Alto, California 94304
    Telephone: 972.628.3600                          Telephone: 650.493.9300
    Telecopier: 972.628.3616                         Telecopier: 650.493.6811

     COUNSEL FOR PLAINTIFF                           Jennifer J. Schmidt (pro hac vice)
     CINSAY, INC.                                    jschmidt@wsgr.com
                                                     WILSON SONSINI GOODRICH &
                                                        ROSATI PC
                                                     One Market Plaza
                                                     Spear Tower, Suite 3300
                                                     San Francisco, California 94105
                                                     Telephone: (415) 947-2000
                                                     Facsimile: (415) 947-2099

                                                     COUNSEL FOR DEFENDANT
                                                     JOYUS, INC.


                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the above and foregoing document was
served on counsel of record via CM/ECF, in accordance with the Federal Rules of Civil
Procedure, on April 3, 2015.

                                                 /s/ Olga A. Bograd
                                                 Olga A. Bograd
653901




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